              Case 18-18160-amc                    Doc         Filed 06/20/24 Entered 06/20/24 13:42:25                               Desc Main
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 Fill in this information to identify the case:
 Debtor 1
                 Camilla Brown
 Debtor 2

 (Spouse, if filing)
 United States Bankruptcy Court for the: Eastern District of Pennsylvania
 (Philadelphia)___________
                                                                            (State)
 Case number 18-18160-amc


Official Form 410S1
Notice of Mortgage Payment Change                                                                                                           12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See bankruptcy rule 3002.1


Name of creditor: U.S. Bank Trust National Association, as                            Court claim no. (if known): 6
Trustee of the Bungalow Series IV Trust



                                                                                      Date of payment change:                     August 1, 2024
                                                                                      Must be at least 21 days after date
Last four digits of any number you use                8274                            of this notice
to identify the debtor's account:



                                                                                      New total payment:                          $451.40
                                                                                      Principal, interest, and escrow, if any



 Part 1:          Escrow Account Payment Adjustment
1.    Will there be a change in the debtor's escrow account payment?
        No

        Yes.          Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law. Describe
                       the basis for the change. If a statement is not attached, explain why: ___________________________________________
                       __________________________________________________________________________________________________

                       Current escrow payment:       $268.11                                New escrow payment:         $269.34

Part 2:           Mortgage Payment Adjustment
 2.    Will the debtor's principal and interest payment change based on an adjustment to the interest rate in the
       debtor's variable-rate note?
        No
        Yes.          Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a notice is not
                       attached, explain why:
                       ___________________________________________________________________________________________________
                       Current Interest Rate:                                             New interest rate:
                       Current principal and interest payment:                                 New principal and interest payment:
Part 3:           Other Payment Change
 3.    Will there be a change in the debtor's mortgage payment for a reason not listed above?
        No
        Yes.          Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                       (Court approval may be required before the payment change can take effect)

                       Reason for change:

                       Current mortgage payment:                                                New mortgage payment:



Official Form 410S1                                      Notice of Mortgage Payment Change                                                    Page 1
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Debtor 1     Camilla Brown                                                               Case Number (if known)     18-18160-amc
             First Name                Middle Name          Last Name



Part 4:          Sign Here
 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box
          I am the creditor.
   I am the creditor's authorized agent.

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.

           /s/ Michelle Ghidotti, Authorized Representative of Creditor                                          Date 06/20/2024
     Signature


 Print:                   Michelle Ghidotti, Authorized Representative of Creditor___________ Title           Creditor`s Authorized Agent
                          First name          Middle Name   Last name

 Company                  GHIDOTTI | BERGER LLP

 Address                  1920 Old Tustin Ave,
                          Number                Street

                          Santa Ana, CA 92705
                          City                  State       Zip Code

 Contact phone            (949) 427-2010                    Email:      bknotifications@ghidottiberger.com
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                   323 FIFTH STREET                                                                                      (800) 603-0836
                   EUREKA CA 95501                                                                Para Español, Ext. 2660, 2771 o 2750
                                                                                                      8:00 a.m. - 5:00 p.m. Pacific Time
                                                                                                              Main Office NMLS #
                                                                                                            Branch Office NMLS #




              CAMILLA BROWN
              535 E CARVER ST
              PHILADELPHIA PA 19120



Analysis Date: June 06, 2024                                                                                                            Final
Property Address: 535 EAST CARVER STREET PHILADELPHIA, PA19120                                                           Loan:
                                      Annual Escrow Account Disclosure Statement
                                                  Account History

      This is a statement of actual activity in your escrow account from May 2023 to July 2024. Last year's anticipated activity
      (payments to and from your escrow account) is next to the actual activity.

Payment Information               Current:      Effective Aug 01, 2024:            Escrow Balance Calculation
 Principal & Interest Pmt:              182.06                  182.06             Due Date:                                    Jul 01, 2024
 Escrow Payment:                         268.11                 269.34             Escrow Balance:                                    53.66
 Other Funds Payment:                      0.00                    0.00            Anticipated Pmts to Escrow:                       268.11
 Assistance Payment (-):                   0.00                    0.00            Anticipated Pmts from Escrow (-):                    0.00
 Reserve Acct Payment:                     0.00                    0.00            Anticipated Escrow Balance:                     $321.77
  Total Payment:                         $450.17                  $451.40


                     Payments to Escrow       Payments From Escrow                                  Escrow Balance
       Date          Anticipated   Actual     Anticipated     Actual          Description           Required       Actual
                                                                         Starting Balance            1,426.02       (524.46)
      May 2023          236.21      268.11        1,189.80             * Homeowners Policy             472.43       (256.35)
      Jun 2023          236.21      268.11                             *                               708.64         11.76
      Jul 2023          236.21      268.11                             *                               944.85        279.87
      Aug 2023          236.21      268.11                             *                             1,181.06        547.98
      Sep 2023          236.21      268.11                             *                             1,417.27        816.09
      Oct 2023          236.21      268.11                             *                             1,653.48      1,084.20
      Nov 2023          236.21      268.11                             *                             1,889.69      1,352.31
      Dec 2023          236.21      268.11                             *                             2,125.90      1,620.42
      Jan 2024          236.21      268.11                             *                             2,362.11      1,888.53
      Feb 2024          236.21      268.11                             *                             2,598.32      2,156.64
      Feb 2024                                                1,644.77 * City/Town Tax               2,598.32        511.87
      Mar 2024          236.21      268.11        1,644.77             * City/Town Tax               1,189.76        779.98
      Mar 2024                                                  169.97 * Escrow Disbursement         1,189.76        610.01
      Apr 2024          236.21      268.11                             *                             1,425.97        878.12
      Apr 2024                                                1,360.68 * Homeowners Policy           1,425.97       (482.56)
      May 2024                      268.11                             *                             1,425.97       (214.45)
      Jun 2024                      268.11                             *                             1,425.97         53.66
                                                                         Anticipated Transactions    1,425.97         53.66
      Jul 2024                    268.11                                                                             321.77
                     $2,834.52 $4,021.65       $2,834.57     $3,175.42


                                                                                                                               Page 1
      Case
An asterisk  (*)18-18160-amc              Doc
                indicates a difference from         Filed
                                            a previous      06/20/24
                                                       estimate either in the Entered      06/20/24
                                                                              date or the amount. If you13:42:25        Desc Main
                                                                                                        want a further explanation, please call
our toll-free number.                               Document              Page     4   of 7

Last year, we anticipated that payments from your account would be made during this period equaling 2,834.57. Under
Federal law, your lowest monthly balance should not have exceeded 472.43 or 1/6 of the anticipated payment from the
account, unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are
silent on this issue.




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Borrower: CAMILLA BROWN                                                                                                             Loan:
                                                 Annual Escrow Account Disclosure Statement
                                                        Projections for Coming Year

      This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and
      from your account.

        Date              Anticipated Payments                                                                  Escrow Balance
                          To Escrow From Escrow               Description                                 Anticipated      Required
                                                              Starting Balance                               321.77        1,001.86
      Aug 2024              250.45                                                                           572.22        1,252.31
      Sep 2024              250.45                                                                           822.67        1,502.76
      Oct 2024              250.45                                                                         1,073.12        1,753.21
      Nov 2024              250.45                                                                         1,323.57        2,003.66
      Dec 2024              250.45                                                                         1,574.02        2,254.11
      Jan 2025              250.45                                                                         1,824.47        2,504.56
      Feb 2025              250.45                                                                         2,074.92        2,755.01
      Mar 2025              250.45        1,644.77            City/Town Tax                                  680.60        1,360.69
      Apr 2025              250.45                                                                           931.05        1,611.14
      May 2025              250.45        1,360.68            Homeowners Policy                             (179.18)         500.91
      Jun 2025              250.45                                                                            71.27          751.36
      Jul 2025              250.45                                                                           321.72        1,001.81
                         $3,005.40       $3,005.45

     (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)
      Your escrow balance contains a cushion of 500.91. A cushion is an additional amount of funds held in your escrow
      balance to prevent the balance from becoming overdrawn when an increase in the disbursement amount occurs. Under
      Federal law, your lowest monthly balance should not exceed 500.91 or 1/6 of the anticipated payment from the account,
      unless your mortgage contract or State law specifies a lower amount. Your mortgage contract and State law are silent on
      this issue.

      Your ending balance from the last month of the account history (escrow balance anticipated) is 321.77. Your starting
      balance (escrow balance required) according to this analysis should be $1,001.86. This means you have a shortage of 680.09.
      This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
      deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 36
      months.

      We anticipate the total of your coming year bills to be 3,005.45. We divide that amount by the number of payments expected during
      the coming year to obtain your escrow payment.




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Borrower: CAMILLA BROWN                                                                                                  Loan:

                                                                   Paying the shortage: If your shortage is paid in full, your new
      New Escrow Payment Calculation
                                                                   monthly payment will be $432.51 (calculated by subtracting the
      Unadjusted Escrow Payment                      250.45
                                                                   Shortage Amount to the left and rounding, if applicable). Paying the
      Surplus Amount:                                  0.00
                                                                   shortage does not guarantee that your payment will remain the same, as
      Shortage Amount:                                18.89
                                                                   your tax or insurance bills may have changed. If you would like to pay
      Rounding Adjustment Amount:                      0.00
                                                                   the shortage now, please pay the entire amount of the shortage before
      Escrow Payment:                               $269.34
                                                                   the effective date of your new payment. To ensure that the funds are
                                                                   posted to your account correctly, please notify your asset manager that
                                                                   you are paying the shortage.

     NOTICE OF RIGHT TO CANCEL PRIVATE MORTGAGE INSURANCE: If you currently pay private mortgage insurance
     premiums, you may have the right to cancel the insurance. In most cases, you have the right to cancel private mortgage insurance if
     the principal balance of your loan is 80 percent or less of the original appraised value of your home, and you have a good payment
     history on your loan. If you want to learn whether you are eligible to cancel this insurance, please contact us at 323 Fifth Street,
     Eureka, Ca 95501 or 800-603-0836.

 * Please note if you have autopay/EFT set up on your loan, it is your responsibility to make sure your payment amount is
 updated. Enclosed is the EFT form that needs to be completed. Once completed, please fax to the number listed on the EFT form
 or return in the self-addressed envelope.




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                                       CERTIFICATE OF SERVICE
       On June 20, 2024, I served the foregoing document described as Notice of Mortgage Payment
Change on the following individuals. By electronic means through the Court’s ECF program:


        COUNSEL FOR DEBTOR: Cibik Law, P.C., help@cibiklaw.com


        TRUSTEE: KENNETH E. WEST, ecfemails@ph13trustee.com


        US TRUSTEE: Office of the U.S. Trustee, USTPRegion03.PH.ECF@usdoj.gov




By depositing true copies thereof in the United States mail at Santa Ana, California enclosed in a sealed
envelope, with postage paid, addressed as follows:


        DEBTOR: Camilla Brown
                      535 East Carver Street
                      Philadelphia, PA 19120




       I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct.



                                                            /s/Michelle Ghidotti, Authorized
                                                            Representative of Creditor
